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7 UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION FlLED - GR

October 29, 2018 11.'43 AM
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UNITED STATES OF AMERICA, U.S. DISTRlcT ouRT
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BY:__mkc_ SCANNED B

P_laintiff,

vs.
FELONY INFORMATION '

1 :1 8-cr-230
Defendant. Janet T. Neff
/ U.S. District Judge

MICHAEL ALAN FEHLER,

The United States Attorney charges:
(Conversion of Public Money)
Beginning in or`about December 2008 and continuing to in or about July 2017,
in the Southern Division of the Western District of Michigan,
MICHAEL‘ ALAN FEHLER
did knowingly and intentionally convert to his own use money of a department and
agency of the United States, that is, from the United States Social Security
Administration in an amount exceeding $1,000.
18 U.S.C. § 641

Dated: October 29, 2018 ANDREW BYERLY BIRGE
United States Attorney

CHRISTOPHER M. O’CONNOR
Assistant United States Attorney

